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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

                              Civil Case Number: ________________

                                                    :
Cynthia Watson Baranowski,                          :
                                                    :
                        Plaintiff,                  :
        v.                                          :
                                                    :
Select Portfolio Servicing, Inc.,                   :
                                                    :
                        Defendant.                  :
                                                    :
                                                    :



                                           COMPLAINT

        For this Complaint, the Plaintiff, Cynthia Watson Baranowski, by undersigned counsel,

states as follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act 47 U.S.C. § 227, et seq. (the “TCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        3.      Plaintiff, Cynthia Watson Baranowski (“Plaintiff”), is an adult individual residing

in Ormond Beach, Florida, and is a “person” as defined by 47 U.S.C. § 153(39).

        4.      Defendant Select Portfolio Servicing, Inc. (“SPS”), is a Utah business entity

headquartered in Salt Lake City, Utah, and is a “person” as defined by 47 U.S.C. § 153(39).
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                                             FACTS

       5.      Within the last year, SPS began calling Plaintiff’s cellular telephone, number 386-

xxx-6031, using an automatic telephone dialing system (“ATDS”) regarding Plaintiff’s account

with SPS.

       6.      When Plaintiff answered calls from SPS, she heard silence and had to wait on the

line before she was connected to the next available representative.

       7.      On or about July 27, 2019, Plaintiff spoke with a live representative and requested

SPS cease placing calls to her.

       8.      SPS assured Plaintiff it would notate her account in order to stop the calls.

       9.      Nevertheless, SPS continued to place automated calls to Plaintiff’s cellular

telephone number.

                                       COUNT I
                       VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, et. seq.

       10.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       11.     At all times mentioned herein, Defendant called Plaintiff’s cellular telephone

number using an ATDS or predictive dialer.

       12.     In expanding on the prohibitions of the TCPA, the Federal Communications

Commission (“FCC”) defines a predictive dialer as “a dialing system that automatically dials

consumers’ telephone numbers in a manner that “predicts” the time when a consumer will

answer the phone and a [representative] will be available to take the call…”2003 TCPA Order,

18 FCC 36 Rcd 14022. The FCC explains that if a representative is not “free to take a call that

has been placed by a predictive dialer, the consumer answers the phone only to hear ‘dead air’ or

a dial tone, causing frustration.” Id. In addition, the TCPA places prohibitions on companies that
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“abandon” calls by setting “the predictive dialers to ring for a very short period of time before

disconnecting the call; in such cases, the predictive dialer does not record the call as having been

abandoned.” Id.

         13.   Defendant’s telephone system(s) have some earmarks of a predictive dialer.

         14.   When Plaintiff answered calls from Defendant, she heard silence before

Defendant’s telephone system would connect her to the next available representative.

         15.   Defendant’s predictive dialers have the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

         16.   Defendant placed automated calls to Plaintiff’s cellular telephone number despite

knowing that it lacked consent to do so. As such, each call placed to Plaintiff was made in

knowing and/or willful violation of the TCPA, and subject to treble damages pursuant to 47

U.S.C. § 227(b)(3)(C).

         17.   The telephone number called by Defendant was and is assigned to a cellular

telephone service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

         18.   Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued

calls.

         19.   The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

         20.   Plaintiff is entitled to an award of $500.00 in statutory damages for each call in

violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

         21.   As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
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                                  PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

             A. Statutory damages of $500.00 for each violation determined to be negligent

                 pursuant to 47 U.S.C. § 227(b)(3)(B);

             B. Treble damages for each violation determined to be willful and/or knowing

                 pursuant to 47 U.S.C. § 227(b)(3)(C); and

             C. Such other and further relief as may be just and proper.

                      TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: October 15, 2019
                                           Respectfully submitted,

                                           By: /s/ Matthew Fornaro

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